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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,           )
                                    )
                 Plaintiff,         )                 4:07CR3152
                                    )
           v.                       )
                                    )
JOHN F. KROTZ,                      )          MEMORANDUM AND ORDER
                                    )
                 Defendants.        )
                                    )



     Defendant Krotz has moved this court for an order
suppressing any and all evidence, statements, investigations, and
interrogations obtained by the government resulting from a
search of the residence at 608 Dogwood, Lincoln, Nebraska and at
2001 Washington, Lincoln, Nebraska.         The plaintiff claims the
search warrant that ostensibly authorized the search of these
residences did not permit a search of his living space and
property, there was no probable cause for issuing the warrant,
the warrant failed to particularize the place to be searched and
or things to be seized, and the search of these residences was
conducted without probable cause and exceeded the scope permitted
by the search warrant.

     The defendant must make threshold showing before he is
entitled to a hearing on his claim that the warrant itself was
defective for failing to adequately describe the property to be
searched, that the warrant was issued without probable cause, or
that the officers’ search exceeded the scope authorized under the
warrant.   See Franks v. Delaware, 438 U.S. 154, 171 (1978);
United States v. Frazier, 280 F.3d 835, 845 (8th Cir. 2002).                 The
defendant has failed to make this threshold showing because the
search warrant at issue is not before the court.
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     IT THEREFORE HEREBY IS ORDERED: On or before January 11,
2008, counsel for defendant Krotz shall file a copy of the
warrant application, warrant, and warrant return at issue on
defendant’s motion to suppress. The documents shall be filed as
restricted access documents pursuant to the E-Government
Act of 2002 and will not be publically accessible absent further
order of the court.

     DATED this 28th day of December, 2007.

                                    BY THE COURT:


                                    s/ David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge




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